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                             EXHIBIT A
   Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 114-2, PageID.3952 Filed 12/04/23 Page 2 of
                                          2
                                       Vendor Evaluation Ranking and Rationale
                                               RFP 920, 210000000714
                                         Voting Rights Act (VRA) Legal Counsel
  After staff review and scoring, we recommend inviting two vendors for interviews before the entire MICRC – The Law
  Office of Bryan L. Sells and Federal Compliance Consulting. Please see below for an overview of the ranking and rationale
  for this recommendation.
 Bidder: Federal Compliance Consulting                                                         Ave. Vendor Score: 93

RATIONALE/GENERAL OBSERVATIONS
   • Bruce Adelson has 38 years experience as an attorney with extensive redistricting experience since 2011.
   • Redistricting experience with U. S. Department of Justice (DOJ) as senior trial attorney in the voting rights
      section
   • Redistricting experience serving the AZ Independent Redistricting Commission over two cycles
   • Relevant state level experience in five states
   • Experience in MI with VRA and MI election law; also has provided pro bono advice to MI Dept. of Elections
      in the past
   • His motivation is a commitment to citizen-based redistricting; has unique experience to benefit MI
   • Will provide impartial advice and counsel according to the law
   • Experience with reports and memoranda, including providing Gingles analysis
   • Understands transparency and public engagement, including COI
   • Extensive connections in the VRA arena
   • Will share his training experience with the MICRC; proposal includes both VRA and redistricting training
   • Agrees to RFP Terms and Conditions

Bidder: Law Office of Bryan L. Sells                                                            Ave. Vendor Score: 80


RATIONALE/GENERAL OBSERVATIONS
   • Bryan Sells has over two decades of experience in redistricting; extensive VRA experience
   • Worked with the U.S. DOJ in Civil Rights Division for five years, working on sections 2 & 5 of the VRA and
      analyzing plans for compliance; on trial team for Texas litigation
   • Lead counsel on South Dakota Native Americans 2001 legal challenge
   • Has been lead counsel in 52 voting rights cases, including 33 regarding redistricting
   • His motivation is public service utilizing his expertise to serve
   • His approach will be to let facts and evidence guide analysis without regard to party or faction
   • Anticipates providing short legal memoranda to the MICRC
   • Has a broad network of experts in related fields from his 20 years of work in voting rights
   • Provided a separate detailed project plan
   • Has experience training others regarding VRA and redistricting, and will do so with the MICRC
   • Agrees to RFP Terms and Conditions



   Note: The remaining bidders – Clark-Hill PLC; Crimcard Consulting Services; Honigman LLP; Tueth Kenney
   Cooper Mohan Jackstadt PC; and Sandler Reiff Lamb Rosenstein & Birkenstock PC scored below the 80-
   point technical evaluation threshold, so were not moved forward for further consideration in the
   evaluation process.
